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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             SHERMAN DIVISION

THE STATE OF TEXAS, et al.,            §
                                       §
      Plaintiffs,                      §
v.                                     §     Civil Action No. 4:20-cv-00957-SDJ
                                       §
GOOGLE LLC,                            §
                                       §
      Defendant.                       §




           DEFENDANT GOOGLE LLC’S REPLY IN SUPPORT OF ITS
     MOTION TO EXCLUDE EXPERT TESTIMONY OF IGNATIUS GRANDE AND
            TO STRIKE HIS IMPROPER “REBUTTAL” TESTIMONY
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         Ignatius Grande opines that Google “spoliated” evidence, that each element of Federal Rule

of Civil Procedure 37(e) is satisfied, and that Plaintiffs were prejudiced. Mtn. (ECF 764) at 5–7.

But the law is clear: those are legal conclusions within the province of the Court that experts

cannot offer. The cases cited in Plaintiffs’ Response (ECF 783) uniformly preclude this exact

expert testimony. Nor can Plaintiffs evade Grande’s other glaring issues, including his improper

opinions on Google’s intent and his lack of qualifications for his quantitative opinions. And

Plaintiffs continue to put words in Google’s expert Michal Malkiewicz’s mouth—sparsely quoting

his report, opting instead for inaccurate paraphrasing—to artificially “open the door” for Grande’s

improper rebuttal testimony. Grande’s opinions should be excluded and/or stricken.

    I.   Grande’s Opinions Cross the Line From Industry Standards to Legal Conclusions.

         Plaintiffs are wrong that Grande merely opines on e-Discovery industry standards “shaped

by legal standards.” Resp. at 6–7. He offers point-blank legal conclusions that Rule 37(e)’s four

elements are satisfied and that Plaintiffs were prejudiced under Rule 37(e)(1). Mtn. at 5–7; Pajak

v. Under Armour, Inc., 636 F.Supp.3d 629, 640 (N.D. W.Va. 2022) (experts cannot offer “legal

conclusions” like whether a party “complied with the Federal Rules of Civil Procedure”). 1 One

glaring example is Grande’s opinion that Google’s duty to preserve was triggered between 2006

and 2013, ECF 764-5 ¶¶ 74, 106—which should be excluded for the added reason that it conflicts

with this Court’s ruling that Google’s duty arose in September 2019. ECF 776 at 16; Pajak, 636

F.Supp.3d at 641 (excluding expert opinion on the same basis).


1
 Plaintiffs’ assertion that “eDiscovery and ESI preservation are complex, nuanced topics that are
not intuitively known by lay juries,” Resp. at 1–2, is irrelevant. Spoliation determinations are made
by courts, not juries. See Jim S. Adler, P.C. v. McNeil Consultants, LLC, 2023 WL 2699511, at *8
(N.D. Tex. Feb. 15, 2023) (“To apply Rule 37(e) sanctions, a court must determine that the [] four
predicate elements exist.”); see also BHI Energy I Power Servs. LLC v. KVP Holdings, LLC, 730
F. Supp. 3d 308, 325–28 (N.D. Tex. 2024); Edwards v. Junior State of Am. Found., 2021 WL
1600282, at *7 (E.D. Tex. Apr. 23, 2021); Calsep, Inc. v. Intelligent Petroleum Software Sols.,
LLC, 2021 WL 1729169, at *5–*6 (S.D. Tex. Apr. 29, 2021).

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       Grande’s opinion that Google “spoliated,” ECF 764-5 ¶ 79, is also an improper legal

conclusion on the ultimate issue. Plaintiffs cite Rimkus Consulting Grp., Inc. v. Cammarata, to

argue spoliation is a “term of art in the eDiscovery industry” on which “courts routinely allow

experts to opine,” Resp. at 7 n.22, but Rimkus did not involve expert testimony on spoliation. And

the court explained that spoliation has a legal meaning: “[D]eletions, alterations, and losses cannot

be spoliation unless there is a duty to preserve the information, a culpable breach of that duty, and

resulting prejudice.” 688 F. Supp. 2d 598, 612 (S.D. Tex. 2010). 2 As spoliation “has a distinct

legal meaning and is a legal term of art,” Grande’s opinion is an “impermissible legal conclusion.”

Greger v. C.R. Bard, Inc., 2021 WL 3855474, at *10 (E.D. Tex. Aug. 30, 2021).

       Plaintiffs attempt to blur the line between expert testimony on industry standards (which

can be proper) and offering legal conclusions (which is never proper). But their cited cases

establish that courts draw a clear distinction between the two, even in the e-Discovery context, and

exclude opinions that are legal conclusions. Resp. 4–7. 3 Grande’s opinions plainly cross that line.

Mtn. at 5–7. They should be excluded in their entirety.

        II.   Plaintiffs’ Cited Cases Further Support Excluding Grande’s Testimony.

       Plaintiffs cite several cases with e-Discovery-related expert testimony. Resp. at 4 nn.16, 17

& 18; id. at 6 n.20. None support Grande’s admissibility. To the contrary, these cases showcase

2
  See also In re Pac. Fertility Ctr. Litig., 2021 WL 1054374, at *6 (N.D. Cal. Mar. 19, 2021)
(spoliation is legal issue); Beaton v. SpeedyPC Software, 2017 WL 6569630, at *5 (N.D. Ill. Dec.
21, 2017) (same). Plaintiffs rely heavily on Calsep, Resp. at 4, 7, but the experts there did not
opine on e-Discovery standards or whether a party violated its preservation duties; computer
forensic experts opined on technical aspects of data deletion. 2021 WL 1729169, at *5–*6.
3
  Citing Pajak, 636 F. Supp. 3d at 640 (expert could “offer opinions regarding industry standards
and best practices within the e-Discovery field, and whether the defendants complied with the
same” but could not “mak[e] legal conclusions” like “whether Defendants’ actions, or inactions,
violated or complied with the Federal Rules of Civil Procedure, or other court rules and case law”);
Butler v. BNSF Ry. Co., 2024 WL 2735020, at *5 (E.D. Tex. Mar. 26, 2024) (drawing similar line);
Sec. & Exch. Comm’n v. Ambassador Advisors, LLC, 576 F. Supp. 3d 250, 257 (E.D. Pa. 2021)
(same; expert could not “offer[] opinions as to the legal duties Defendants had in this case or as to
whether Defendants satisfied those legal duties.”).

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the proper confines of expert testimony: experts opining on (i) the fact of data loss or (ii) e-

Discovery industry standards without reference to Rule 37(e)’s legal standards. See In re Local TV

Advert. Antitrust Litig., 2023 WL 5607997, at *10 (N.D. Ill. Aug. 30, 2023); Calsep, 2021 WL

1729169, at *6; Buddenberg v. Est. of Weisdack, 711 F. Supp. 3d 712, 821 (N.D. Ohio 2024);

Olney v. Job.com, 2014 WL 5430350, at *13 (E.D. Cal. Oct. 24, 2014); Pajak, 636 F.Supp.3d at

640 4; GN Netcom, Inc. v. Plantronics, Inc., 930 F.3d 76, 86 (3d Cir. 2019). 5 The stark contrast

between the expert testimony permitted in these cases—strictly confined to industry standards and

e-Discovery terms of art, not terms in Rule 37(e)—on one hand, and Grande’s opinions—reciting

the exact legal standards from Rule 37(e), Mtn. at 6—on the other, further supports why Grande’s

opinions must be excluded. Greger, 2021 WL 3855474, at *10.

        III.    Certain of Grande’s Opinions Warrant Exclusion on Other Grounds.

       Plaintiffs’ claim that Grande is “not making ‘inferences about [Google’s] intent,’” Resp. at

8–9, is false. He stated in his deposition: “I believe my opinions do reflect Google’s intent.” ECF

764-4 at 41:17–18. His report states: “Google attempted to undermine the investigations and cases

that were starting to form, including this litigation, by ... allowing for all Google Chats to be ‘off

the record.’” ECF 764-5 ¶ 67. Plaintiffs agree that expert testimony on a defendant’s intent is

improper, Resp. at 8, and the cases they cite preclude the same opinions Grande offers. Pajak, 636

4
  Plaintiffs mis-cite Pajak. In footnote 20, they claim the court permitted an expert to opine on
whether defendants “took reasonable, good faith, proportionate, and commonly accepted steps to
preserve potentially relevant content.” Resp. at 6 n.20. Not so. Plaintiffs quote the opinion that was
challenged. Pajak, 636 F.Supp.3d at 641. The court did not permit that specific opinion, but
instead broadly held the expert could “offer opinions regarding industry standards and best
practices within the e-Discovery field” but that the expert was “precluded from making legal
conclusions.” Id. at 641–42. The pertinent question was whether the expert’s opinion used terms
with “a separate, distinct, and specialized meaning in the law.” Id. That is Pajak’s full holding; it
does not otherwise support Plaintiffs’ broad claim in footnote 17. Resp. at 4 n.17.
5
  In most of these cases, the expert’s opinions were not challenged as improper legal conclusions,
so the courts did not consider the issue. GN Netcom, 930 F.3d at 86 (FRE 403 challenge); id. No.
12-cv-01318, ECF 591 (unreliability challenge); Calsep, 2021 WL 1729169 (opinion not
challenged); Buddenberg, 711 F. Supp. 3d 712 (same); Olney, 2014 WL 5430350 (same).

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F.Supp.3d at 639 (excluding opinion that defendant “intentionally” failed to issue proper litigation

holds). 6 Grande’s opinion on Google’s intent must be excluded.

       As to Grande’s expertise, Plaintiffs do not dispute that he is neither a computer science nor

a statistical analysis expert. Mtn. at 8–9. Two of Grande’s opinions fall with that concession. First,

his opinion that “millions” of chat messages were lost. ECF 764-5 ¶ 93. Grande provides no

reliable e-Discovery-based methodology for calculating the number. Mtn. at 8 n.9 (Grande did no

quantitative analysis); cf. Pharr v. Wille, 2016 WL 4082740, at *8 (W.D. Tex. July 29, 2016)

(excluding expert opinion that was “not based on reliable methods” and provided “no

methodology”). Instead, the number is sourced purely from Professor Hochstetler’s calculations, 7

making it unreliable. Eveler v. Ford Motor Co., 2017 WL 3382460, at *9 (E.D. La. Aug. 7, 2017)

(“[U]nblinking reliance on another expert’s testing also renders [expert’s] methodology

unreliable.”). 8 Second, Grande’s opinion that it would not have been “burdensome or expensive”

for Google to store all chat messages for employees on litigation hold, ECF 764-5 ¶ 77, should be

excluded for the same reasons. Plaintiffs do not dispute that Grande performed no quantitative

analysis to determine storage costs, Mtn. at 8 n.9, and Grande does not otherwise provide a reliable

e-Discovery-based methodology for determining the cost and burden to Google of these changes. 9


6
  Plaintiffs argue that Texas courts allow expert testimony that a party “intentionally” deleted
evidence. Resp. at 9 (citing Calsep). But in Calsep, the expert opined on the “advanced skill”
required to delete the allegedly misappropriated trade secrets from the defendant’s system, to
suggest it was intentional and not accidental. 2021 WL 1729169, at *5. The expert did not—as
Grande does here—opine the defendant deleted evidence with the intent to undermine the
plaintiff’s case. See id. Regardless, there was no challenge to the intent-related testimony there.
7
  His only other reference to quantitative evidence is that some Google employees “sent hundreds
of Chats per day.” ECF 764-4 at 198:21–199:3. But Grande does not explain his methodology to
get from that evidence to his opinion that “millions” of chat messages were “spoliated.” ECF 764-
5 ¶ 93; cf. Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997) (expert’s “ipse dixit” cannot be the
sole connection between opinion evidence and data).
8
  If Hochstetler’s Generalized Opinions are excluded, see ECF 762 (Mtn. to Exclude Hochstetler),
Grande’s tack-on opinion must also be. Conn v. C.R. Bard, Inc, 2021 WL 2346036, at *7 (S.D.
Tex. June 8, 2021) (expert cannot rely on other experts’ excluded opinions).
9
  Grande’s reported knowledge of “the time it takes to implement ESI preservation systems” Resp.

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Grande’s misunderstanding of Google’s documents regarding its ability to change Chat retention

settings certainly does not qualify as a “reliable” methodology. Resp. at 10.

 IV.    Plaintiffs Continue to Pretend that Malkiewicz Offered Opinions He Did Not Offer.

       Alternatively, the Court should strike Grande’s Eight New Opinions identified in Google’s

Motion as improper “rebuttal” opinions. See generally ECF 764-1 (App’x A). Plaintiffs try to cast

Grande’s Eight New Opinions as “rebuttals,” Resp. at 13–15, but they cannot quote any “rebutted”

opinions from Malkiewicz’s report, 10 and instead purport to paraphrase opinions he did not offer.

For example, Plaintiffs cite paragraph 23 to claim “Malkiewicz opines” that Google’s Chat

retention process was reasonable and complied with Sedona standards. Resp. at 13. But the actual

paragraph—which, like other portions cited by Plaintiffs, is part of Malkiewicz’s “background”

section and not his opinions—doesn’t even come close. 11 This is the only paragraph Malkiewicz

even mentions Sedona; it hardly opens the door for a “rebuttal” expert to opine (as Grande does)

that Google’s Chat retention practices were inconsistent with Sedona guidance and Google’s legal

duties, warranting spoliation sanctions. 12


at 10, is not the same as knowing what it would take to implement Chat-retention changes.
10
   Consistent with this revisionist history, Plaintiffs didn’t ask Malkiewicz about his report (or
mark it as an exhibit) in his deposition, so the Response contains no cites to his testimony, either.
11
   Paragraph 23 of Malkiewicz’s report, in full (ECF 764-3 at 11), reads:
         In fact, it is normal and sensible for companies to have data management policies that
         permit routine deletion of data. For example, the Sedona Conference, a nonprofit
         organization focused on advancing legal and policy research, emphasizes that
         organizations should balance the business value against the cost and risk associated with
         retaining information in Principle 6 of the Sedona Conference Commentary on Information
         Governance.[fn] The Sedona Conference further states that “[e]phemeral messaging can
         assist with implementation of the life-cycle process by eliminating data with no ongoing
         business value, particularly since a sizeable portion of the data growth involves this type
         of information (e.g., routine communications, meeting requests, duplicative email chains
         to large groups, etc.).[fn]
12
   The source of Plaintiffs’ frustration is plain: “If Google did not want the States to designate an
expert to opine on eDiscovery and ESI preservation issues, Mr. Malkiewicz should not have opined
on them.” Resp. at 15. However, the test for Grande is not whether Malkiewicz discussed a topic
(e.g., ESI preservation); it is whether Grande is contradicting Malkiewicz’s specific opinions stated
in his report—a test that the Eight New Opinions fail to meet. Mtn. at 9–14.

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Dated: February 7, 2025                   Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I certify that on February 7, 2025, this document was filed electronically in compliance

with Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per

Local Rule CV-5(a)(3)(A).


                                                   /s/ Kathy D. Patrick
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